AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of &ROXPELD

                  United States of America                                 )
                             v.                                            )
CHRISTOPHER CARNELL, (DOB: XXXXXXXXX)                                      )       Case No.
DAVID WORTH BOWMAN, (DOB: XXXXXXXX)                                        )
                                                                           )
                                                                           )
                                                                           )
                          Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                   in the county of                                     in the
                         LQWKH'LVWULFWRI         &ROXPELD , the defendant(s) violated:

            Code Section                                                              Offense Description
            18 U.S.C. § 1512(c)(2) - Obstructing, Influencing, or Impeding Any Official Proceeding
            18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,
            18 U.S.C. § l 752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
            40 U.S.C. § 5104(e)(2)(A) - Entering or Remaining on the Floor of a House of Congress, and
            40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                                          Complainant’s signature

                                                                                                 XXXX XXXXXXX, Special Agent
                                                                                                          Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                           G. Michael               Digitally signed
                                                                                                                    by G. Michael
Date:             02/28/2023                                                               Harvey                   Harvey
                                                                                                               Judge’s signature

City and state:                         :DVKLQJWRQ'&                              G. MICHAEL HARVEY, U.S. MAGISTRATE _
                                                                                                                          JUDGE
                                                                                                          Printed name and title


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